      Case 1:16-cr-00051-TWT-JSA Document 38 Filed 10/25/16 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                            CRIMINAL FILE NO.
         v.                                 1:16-CR-51-TWT
 CLIFFORD WAYNE HILL,
   Defendant.


                                       ORDER

      This is a criminal     action.   It is before the Court on the Report and

Recommendation [Doc. 33] of the Magistrate Judge recommending denying the

Defendant’s Motion to Dismiss the Indictment based upon Selective Prosecution

[Doc. 29]. In his Objections to the Report and Recommendation, the Defendant relies

entirely upon the fact that he is being prosecuted for bid rigging and that others are

not. For the reasons set forth in the thorough and well-reasoned Report and

Recommendation, this is insufficient to warrant discovery or dismissal of the

indictment. The Court approves and adopts the Report and Recommendation as the

judgment of the Court. The Defendant’s Motion to Dismiss the Indictment based upon

Selective Prosecution [Doc. 29] is DENIED.
        Case 1:16-cr-00051-TWT-JSA Document 38 Filed 10/25/16 Page 2 of 2




         SO ORDERED, this 24 day of October, 2016.



                                  /s/Thomas W. Thrash
                                  THOMAS W. THRASH, JR.
                                  United States District Judge




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